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                            UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

In re:
                                                       Case No. 04-13819-SSM
 US Airways, Inc. et al.,                              Jointly Administered
                                                       Chapter 11
                        Debtor                         Hon. Stephen S. Mitchell


                       Appointment of Committee of Unsecured Creditors


         Pursuant to 11 U.S.C. § 1102, the following persons, having indicated a willingness to

serve, are hereby appointed to the Committee of Unsecured Creditors:

                        Chairperson
                        Airbus North American Holdings, Inc.
                        Attention: R. Douglas Greco, Senior Director, Sales Finance
                        198 Van Buren Street, Suite 300
                        Herndon, VA 20170-5335
                        E-Mail: Doug.greco@airbus.com


                        Air Line Pilots Association
                        Attention: Kim Allen Snider
                        153 Maple Drive
                        Warrendale, PA 15086
                        E-Mail: kasnider@connettime.net


                        Electronic Data Systems Corporation
                        Attention: Kevin O’Shaughnessy, Account Executive
                        2345 Crystal Drive, Suite H-285
                        Arlington, VA 2227
                        E-mail: kevin.oshaughnessy@eds.com




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                    Wachovia Bank N.A.
                    Attention: Robert L. Bice, II, V. P., Structured Finance Trust Services
                    401 S. Tryon St., NC1179
                    Charlotte, NC 28117
                    E-mail: bob.bice@wachovia.com

                    International Association of Machinists and Aerospace Workers
                    Attention: Jay R. Cronk, Asst. Transportation Coordinator
                    9000 Machinists Place
                    Upper Marlboro, MD 20772-2687
                    E-mail: jcronk@iamaw.org

                    Association of Flight Attendants
                    Attention: Perry Hayes, MEC Pres.
                    200 Marshall Drive
                    Carapolis, PA 15108

                    LSG Sky Chefs, Inc.
                    Attention: Janice L. Kiraly, Global Director-Credit & Collections
                    6191 North State Hwy. 161
                    Irving, TX 75038
                    E-mail: Janice.kiraly@lsgskychefs.com


                    Pension Benefit Guaranty Corporation
                    Attention: Andreas Wilkinson, Senior Financial Analyst
                    1200 K Street, NW, Suite 270
                    Washington, DC 20005-4026
                    E-Mail: Wilkinson.andreas@pbgc.gov

                    U. S. Bank National Association
                    Attention: Robert Butzier
                    One Federal Street - 3rd Floor
                    Boston, MA 02111
                    E-mail: Robert.butzier@usbank.com


                    Sabre, Inc.
                    Attention: Christine Vincenti-Potosky, Esq.
                    3150 Sabre Drive
                    South Lake, TX 76092
                    E-Mail: Christine.vincenti-potosky@sabre-holding.com




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                    Bombardier Aerospace
                    Attention: Francois Ouellette, VP Legal Services
                    P O Box 6087, Station Centre-ville
                    Montreal, Quebec, Canada H3C 3G9
                    E-Mail: Francois.oullette@notes.canadair.ca

                    Communications Workers of America, AFL-CIO
                    Attention: Rick Braswell
                    501 Third Street, NW
                    Washington, DC 20001
                    E-Mail: rickb@cwa-union.org

                    General Electric
                    Attention: Eric M. Dull
                    120 Long Ridge Road
                    Stamford, CT 06927
                    E-Mail: Eric.dull@ge.com



Dated: September 21, 2004                      By: /s/ Dennis J. Early
                                               Dennis J. Early
                                               Asst. U.S. Trustee
                                               Office of the U.S. Trustee
                                               115 S. Union St., # 210
                                               Alexandria, VA 22314
                                               (703) 557-7176
                                               (703) 557-7279-fax




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